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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION


 STEVE BERRY,

        Petitioner,

 v.                                                   CASE NO. 8:10-CV-79-T-30MAP
                                                CRIM. CASE NO. 8:06-CR-349-T-30MAP
 UNITED STATES OF AMERICA,

       Respondent.
 ______________________________/

                                            ORDER

        THIS CAUSE comes before the Court upon Petitioner’s pro se Motion to Vacate, Set

 Aside, or Correct Sentence Pursuant to 28 U.S.C. § 2255 (hereinafter “motion”) (CV Dkt.

 #1) filed on January 12, 2010, and Petitioner’s “Show Cause Motion” (CV Dkt. 5) which the

 Court construes as a response to the Court’s January 21, 2010 order to show cause why the

 motion should not be dismissed as time barred (See CV Dkt. 4). The Court concludes that

 this motion is due to be dismissed without an evidentiary hearing because it plainly appears

 from the face of the motion and the prior criminal proceedings that the petition is time barred.

                                       BACKGROUND

        On October 16, 2006, Petitioner executed a plea agreement in which he agreed to

 enter a plea of guilty as to Count One of the Indictment, conspiracy to possess with intent to

 distribute 500 grams of a mixture or substance containing a detectable amount of cocaine in

 violation of 21 U.S.C. §§ 846 (CR Dkt. #94). On February 14, 2007, Petitioner appeared for
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 sentencing (CR Dkt. #171). The Court imposed a sentence of 135 months imprisonment to

 be followed by a 5 year term of supervised release and entered an amended judgment on

 February 22, 2007 (CR Dkt. #173). Petitioner did not file a direct appeal.

 I.     The motion is untimely

        On April 24, 1996, a substantial amendment to 28 U.S.C. § 2255 became effective.

 That amendment, § 105 of the Antiterrorism and Effective Death Penalty Act of 1995

 ("AEDPA"), Pub. L. No. 104-132, 110 Stat. 1214, established a one-year "period of

 limitation" for filing motions under 28 U.S.C. § 2255, to run from the latest of: (1) the date

 on which the judgment of conviction becomes final; (2) the date any unconstitutional

 government impediment, if any, precluding the movant from making a motion is removed;

 (3) the date on which the right asserted was initially recognized by the United States Supreme

 Court; or (4) the date on which the facts supporting the claim could have been discovered

 through the exercise of due diligence. 28 U.S.C. § 2255, as amended by Pub. L. No. 104-132,

 Title 1, § 105 (April 24, 1996).

        Because Petitioner in this case did not file a direct appeal, his conviction became final

 ten (10) business days after February 22, 2007, the date the amended judgment of conviction

 (CR Dkt. # 173) was entered in this case. See Adams v. United States, 173 F.3d 1339, 1342

 (11th Cir. 1999) (when a defendant does not pursue direct appeal, a conviction becomes final

 when the time for filing a direct appeal expires). After the amended judgment became final

 on March 8, 2007, Petitioner had one year to file his motion, i.e., on or before March 8, 2008.


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 Id. at 1340. The present motion was clearly not filed within this limited time frame. It was

 filed almost two years after the amended judgment became final in this case. Therefore, the

 motion is untimely.

        As the Supreme Court noted in Dodd v. United States, 545 U.S. 353, 356-57 (2005),

 “[i]n most cases, the operative date from which the limitation period is measured will be the

 one in [§ 2255(f)(1)] . . . . But later filings are permitted where subparagraphs (2)-(4) apply.”

 In this case, Petitioner essentially asserts that such a statutory exception to the operation of

 the one-year limitation period is applicable to him under § 2255(f)(3) and that the limitation

 period should be measured from “the date on which the right asserted was initially

 recognized by the Supreme Court.” 28 U.S.C. § 2255(f)(3). Specifically, Petitioner asserts

 that his motion is timely pursuant to 28 U.S.C. § 2255(f)(3) since he filed his motion within

 one year of the United States Supreme Court’s decision in Chambers v. United States, 129

 S. Court. 687 (2009), decided January 13, 2009. He argues that Chambers announced a new

 substantive right that applies retroactively on collateral review. Specifically, he argues that

 “[i]n Chambers the Supreme Court interpreted congress’s [sic] intent of what conduct should

 qualify in determining whether an offense was a ‘violent felony’ for purposes of the federal

 Armed Career Criminal Act.” (CV Dkt. 5 at pg. 2).

        Section 2255(f)(3) states that the limitation period shall run from “the date on which

 the right asserted was initially recognized by the Supreme Court, if that right has been newly

 recognized by the Supreme Court and made retroactively applicable to cases on collateral


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 review...” (emphasis added). On April 16, 2008, the Supreme Court decided in Begay v.

 United States, 128 S. Court. 1581 (2008), that the term "violent felony" applied only to

 conduct that involves "purposeful, violent and aggressive conduct." Id. at 1588. The prior

 felony under consideration in Begay was drunk driving. In Chambers, the Supreme Court

 extended the holding of Begay to the crime of failing to report to serve a sentence, finding

 that such crimes did not involve conduct that presented a serious potential risk of physical

 injury to another. Chambers, at 691.

         The Eleventh Circuit explained in Outler v. United States, 485 F.3d 1273, 1280 (11th

 Cir. 2007) that “[t]he meaning of ‘right asserted’ in the statute is the substantive right that

 forms the basis for the § 2255 motion.” Petitioner claims in his motion that his prior

 conviction for carrying a concealed firearm is not a crime of violence, and therefore should

 not have been used to enhance his sentence as a “career offender.” The Eleventh Circuit has

 observed that Begay "set forth a new standard to evaluate which crimes constitute 'violent

 felonies' and 'crimes of violence[.]'” United States v. Archer, 531 F.3d 1347, 1351 (11th Cir.

 2008). Therefore, the right asserted by Petitioner, i.e., the method by which courts should

 determine if an offense is a “crime of violence” under the Sentencing Guidelines,1 was




         1
            This Court applied the Sentencing Guidelines section 4B1.1 “Career Offender” enhancement to
 Petitioner’s sentence. The Eleventh Circuit Court of Appeals “has extended Begay's way of construing the ACCA
 ‘violent felony’ provision to U.S.S.G. section 4B1.1-2 ‘crimes of violence.’" United States v. Whitson, 2010 U.S.
 App. LEXIS 3871 at *3 (11th Cir. Feb. 24, 2010) (unpublished opinion).

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 “initially recognized” in Begay.2                At most, Chambers clarified or extended the rule

 announced in Begay.3 Therefore, even if the decisions in Begay and Chambers are

 retroactively applicable to Petitioner’s motion, this Court concludes that Petitioner had one

 year from the date of the decision in Begay to file his motion.4 See Frederick v. United

 States, 2009 U.S. Dist. LEXIS 124340 at *18-19 (S.D. Fla. 2009) (“This Court finds...that

 Begay announced a new substantive rule such that the conduct of carrying a concealed

 firearm no longer constitutes a prior conviction capable of being used to enhance a sentence

 under § 924(e)(2)...In light of Begay and Archer, a prior conviction for carrying a concealed

 firearm no longer qualifies as a predicate offense under the Guidelines or the ACCA.”).

 Consequently, because Begay was decided on April 16, 2008, Petitioner’s motion is

 untimely.

 Equitable tolling

          Typically, a motion not timely filed is dismissed. However, a petitioner is not time

 barred from filing if he is entitled to an equitable tolling of the one-year limitation period.

 In Sandvik v. United States, 177 F.3d 1269, 1271-72 (11th Cir. 1999) , the Eleventh Circuit

 held that an extension of time in which to file a § 2255 motion is warranted only if


          2
           In United States v. Archer, decided June 26, 2008, the Eleventh Circuit concluded that, in light of Begay,
 “the crime of carrying a concealed firearm may no longer be considered a crime of violence under the Sentencing
 Guidelines.” Id. at 1352.
          3
           Petitioner’s prior conviction was carrying a concealed firearm, not a failure to report charge that was at
 issue in Chambers.
          4
          The Begay and Archer decisions were both available to Petitioner in a § 2255 motion during the year
 following the Begay decision. Both decisions, however, preceded Petitioner’s motion by over one year.

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 extraordinary circumstances beyond a prisoner’s control make it impossible to file the motion

 on time. The Eleventh Circuit in Drew v. Dep’t of Corr., 297 F.3d 1278, 1286 (11th Cir.

 2002) held that “[t]he burden of establishing entitlement to this extraordinary remedy plainly

 rests with the petitioner,” and further emphasized that “[e]quitable tolling is an extraordinary

 remedy and is applied sparingly.” The court noted that to merit equitable tolling, “[a] truly

 extreme case is required.” Holland v. Florida, 539 F.3d 1334, 1338 (11th Cir. 2008).

 Equitable tolling is available only if a petitioner establishes both extraordinary circumstances

 and due diligence. See Diaz v. Sec’y Dep’t of Corr., 362 F.3d 698, 702 (11th Cir. 2004).

 Petitioner’s claim fails to satisfy the first prong. A change in the law does not constitute an

 extraordinary circumstance. In the analogous setting of a petitioner seeking untimely Fed.

 R. Civ. P. 60(b)(6) relief from a final judgment, the Supreme Court addressed the effect of

 a change in law in Gonzalez v. Crosby, 545 U.S. 524, 537-38 (2005), reasoning that “[i]t is

 hardly extraordinary that subsequently, after petitioner’s case was no longer pending, this

 Court arrived at a different interpretation [than the District Court below reached].”

        Furthermore, Petitioner’s pro se status affords him little advantage as the Eleventh

 Circuit has held that lack of familiarity with the judicial process will not justify equitable

 tolling. See, e.g., Rich v. Dep’t of Corr., 317 Fed. Appx. 881, 884 (11th Cir. 2008) (noting

 that pro se status is not an extraordinary circumstance); Helton v. Sec’y Dep’t of Corr., 259

 F.3d 1310 (11th Cir. 2001) (refusing to recognize an extraordinary circumstance when an

 incarcerated petitioner mistakenly believed the AEDPA period of limitation had not started


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 to run). Therefore, Petitioner is not entitled to equitable tolling.

 II.     The motion fails on the merits

         Even if Petitioner’s motion had been timely, it would still have failed on the merits.

 In his motion, Petitioner raises four grounds for relief:

         Ground One: In light of Chambers, this Court lacked jurisdiction to sentence

 Petitioner as a career offender.

         Ground Two: In light of Chambers, Petitioner is actually innocent of the career

 offender enhancement.

         Ground Three: Petitioner’s sentence is manifestly unjust and amounts to cruel and

 unusual punishment under the Eighth Amendment to the United States Constitution.

         Ground Four: In light of Chambers, Petitioner’s sentence is fundamentally defective

 and a miscarriage of justice.

 A.      Appeal waiver

         By virtue of the express language of his Appeal of Sentence-Waiver, Petitioner has

 waived the right to collaterally attack his sentence on Grounds One, Two and Four in his

 motion.5 In his Plea Agreement, Petitioner expressly waived his right “to appeal defendant’s

 sentence or to challenge it collaterally on any ground, including the ground that the Court

 erred in determining the applicable guidelines range pursuant to the United States Sentencing


         5
            Petitioner did not waive the right to appeal or challenge collaterally his sentence on the basis that it
 violates the Eighth Amendment to the United States Constitution (CR Dkt. 94 at pgs. 11-12). Therefore, he did not
 waive the right to bring his claim under Ground Three in this action.

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 Guidelines, except (a) the ground that the sentence exceeds the defendant’s applicable

 guidelines range as determined by the Court pursuant to the United States Sentencing

 Guidelines; (b) the ground that the sentence exceeds the statutory maximum penalty; or (c)

 the ground that the sentence violates the Eight Amendment to the Constitution...” (CR Dkt.

 94 at pgs. 11-12). Petitioner's appeal waiver waives the right to bring Grounds One, Two,

 and Four in the instant § 2255 collateral challenge. Williams v. United States, 396 F.3d 1340,

 1341 (11th Cir. 2005), cert. denied, 546 U.S. 902 (2005)(“It is well-settled that sentence-

 appeal waivers are valid if made knowingly and voluntarily.”). The plain language of the

 appeal waiver provision informed Petitioner that he was waiving his right to collaterally

 attack his sentence on these grounds.

 B.     Procedural default

        “In general, a defendant must assert an available challenge to a sentence on direct

 appeal or be barred from raising the challenge in a section 2255 proceeding." Greene v.

 United States, 880 F.2d 1299, 1305 (11th Cir. 1989). Accordingly, Petitioner is barred from

 asserting his sentencing error claims absent a showing of (1) cause and prejudice, or (2) a

 fundamental miscarriage of justice. See United States v. Frady, 456 U.S. 152, 166-68 (1982);

 Mills v. United States, 36 F.3d 1052, 1055 (11th Cir. 1994). In order to show cause, a

 petitioner must show some external impediment preventing counsel from constructing or

 raising the claim. High v. Head, 209 F.3d 1257, 1262-63 (11th Cir. 2000). "Such external

 impediments include evidence that could not reasonably have been discovered in time to


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 comply with the rule; interference by state officials that made compliance impossible; and

 ineffective assistance of counsel at a stage where the petitioner had a right to counsel." Mize

 v. Hall, 532 F.3d 1184, 1190 (11th Cir. 2008). Absent cause and prejudice, the procedural

 default of a constitutional claim may be excused only if enforcing the default would result

 in a fundamental miscarriage of justice. Mize v. Hall, 532 F.3d 1184, 1190 (11th Cir. 2008).

 This exception applies if the petitioner can show that, in light of new evidence, it is probable

 that no reasonable juror would have convicted him. Id. (citing Schlup v. Delo, 513 U.S. 298,

 327 (1995)).

          All of Petitioner’s claims in his motion could have been raised on direct appeal, but

 Petitioner failed to do so. In fact, he did not appeal his conviction and sentence. Petitioner

 does not allege cause or prejudice for failing to raise these claims on direct appeal. Nor does

 he establish any fundamental miscarriage of justice. Moreover, Petitioner's waiver of the

 right to assert these claims on direct appeal pursuant to the Appeal of Sentence-Waiver is not

 cause for excusing Petitioner's procedural default.6 Garcia-Santos v. United States, 273 F.3d

 506, 508 (2d Cir. 2001). Therefore, Petitioner is procedurally barred from raising these

 claims in his motion.




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        Again, Petitioner did not waive his right to appeal his sentence on the ground that it violates the Eighth
 Amendment.

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 C.     Petitioner’s claims pursuant to Chambers and Archer are not cognizable under

        § 2255

        To the extent Petitioner asserts in his motion that pursuant to Chambers and Archer,

 he was erroneously sentenced as a career criminal offender, the claim is a non-constitutional

 claim that does not provide a basis for collateral relief. A prisoner is entitled to relief under

 § 2255 if the court imposed a sentence that (1) violated the Constitution or laws of the United

 States, (2) exceeded its jurisdiction, (3) exceeded the maximum authorized by law or (4) is

 otherwise subject to collateral attack. 28 U.S.C. § 2255; United States v. Phillips, 225 F.3d

 1198, 1199 (11th Cir. 2000); United States v. Walker, 198 F.3d 811, 813 n.5 (11th Cir. 1999).

 “[T]he scope of collateral review for other than constitutional claims is markedly narrow.”

 United States v. Couch, 896 F.2d 78, 80 (5th Cir. 1990). "Relief under 28 U.S.C. § 2255 'is

 reserved for transgressions of constitutional rights and for that narrow compass of other

 injury that could not have been raised in direct appeal and would, if condoned, result in a

 complete miscarriage of justice.'" Lynn v. United States, 365 F.3d 1225, 1232 (11th Cir.

 2004) (citations omitted).

        Petitioner’s claim that he was erroneously sentenced as a career criminal offender is

 a non-constitutional claim. See Grant v. United States, 72 F.3d 503, 506 (6th Cir. 1996)

 (mistakes in the application of the sentencing guidelines are non-constitutional errors).

 Consequently, his claim is cognizable in this § 2255 action only if he can demonstrate that

 1) his claim “could not have been raised in direct appeal”; and 2) his injury “would, if


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 condoned, result in a complete miscarriage of justice.” Lynn, 365 F.3d at 1232-33 (citations

 omitted).

        Petitioner’s claim that pursuant to Chambers and Archer his sentence should be set

 aside and reconsidered without the career-offender enhancement is not cognizable in this

 action. Because Petitioner’s status as a career offender “is a non-constitutional issue that

 [Petitioner] could have raised on direct appeal, it is not cognizable on collateral review under

 § 2255.” United States v. Coley, 2009 U.S. App. LEXIS 15607, at *8 (11th Cir. July 14,

 2009). This is so even though Chambers and Archer had not yet been decided when

 Petitioner was sentenced. See Coley, 2009 U.S. App. LEXIS 15607, at *7 (“Begay and

 Archer had not yet been decided when Coley was sentenced in 2003; however, if he believed

 that his career offender status was improper under the guidelines that claim could have been

 made on direct appeal-- just as Begay and Archer later did.”).

 D.     Petitioner’s sentence is not manifestly unjust and does not amount to cruel and

        unusual punishment

        To the extent Petitioner complains in his motion that his sentence is manifestly unjust

 and amounts to cruel and unusual punishment, the claim has no merit. First, Petitioner

 admitted to committing the crime and pled guilty. Therefore, there is nothing manifestly

 unjust or cruel and unusual about his conviction. Likewise, there is nothing manifestly unjust

 or cruel and unusual about his sentence. The Plea Agreement informed Petitioner that his

 crime was “punishable by a mandatory minimum term of imprisonment of 5 years up to 40


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 years, a fine of $2 million, a term of supervised release of at least 4 years, and a special

 assessment of $100, said special assessment to be due on the date of sentencing.” (CR Dkt.

 94 at pg. 1). Petitioner was sentenced to 135 months in prison followed by 5 years

 supervised release, and a $100 assessment (CR Dkt. 173), well below the statutory

 maximum.

        Second, when faced with an Eighth Amendment challenge, this Court "must make a

 threshold determination that the sentence imposed is grossly disproportionate to the offense

 committed." United States v. Raad, 406 F.3d 1322, 1324 (11th Cir.), cert. denied, 546 U.S.

 893 (2005). If the defendant satisfies his burden of establishing disproportionality, this Court

 then "must [] consider the sentences imposed on others convicted in the same jurisdiction and

 the sentences imposed for commission of the same crime in other jurisdictions." Id. at 1324,

 n.4.

        "'Outside the context of capital punishment, successful challenges to the

 proportionality of sentences [are] exceedingly rare.'" Id. at 1323 (quoting Solem v. Helm, 463

 U.S. 277, 289-90 (1983)). This is so because this Court "accord[s] substantial deference to

 Congress, as it possesses 'broad authority to determine the types and limits of punishments

 for crimes.'" Id. (quoting Solem, 463 U.S. at 290); see also Harmelin v. Michigan, 501 U.S.

 957, 1006-07 (1991) ("We have never invalidated a penalty mandated by a legislature based

 only on the length of sentence, and. . . we should do so only in the most extreme

 circumstances.") (Kennedy, J., concurring).


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        In United States v. Johnson, 451 F.3d 1239, 1243 (11th Cir.), cert. denied, 127 S.

 Court. 462 (2006), the Eleventh Circuit rejected a defendant's Eighth Amendment challenge

 on the ground that he had failed to make the threshold showing of disproportionality because

 the district court had sentenced him within the statutory limits. Because the defendant had

 failed to make the threshold showing of disproportionality, the Eleventh Circuit did "not

 [need] to consider the sentences imposed on others convicted in the same jurisdiction and the

 sentences imposed for commission of the same crimes in other jurisdictions." Id. At the time

 of his sentencing, Petitioner was properly sentenced as a career offender, was sentenced

 within the guidelines range, and sentenced well below the statutory limits. Like the

 defendant in Johnson, 451 F.3d at 1243, Petitioner has not satisfied his burden of establishing

 disproportionality, and has not otherwise established that his sentence is cruel and unusual.

        It is therefore ORDERED AND ADJUDGED that:

        1.     Petitioner’s Motion to Vacate, Set Aside, or Correct Sentence Pursuant to 28

 U.S.C. §2255 (CV Dkt. #1) is DISMISSED as time barred.

        2.     The Clerk is directed to close this file and terminate from pending status the

 motion to vacate found at CR Dkt.#284, in the underlying criminal case, case number 8:06-

 cr-349-T-30MAP.




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 CERTIFICATE OF APPEALABILITY AND LEAVE TO APPEAL IN FORMA

 PAUPERIS DENIED

        IT IS FURTHER ORDERED that Petitioner is not entitled to a certificate of

 appealability. A prisoner seeking a writ of habeas corpus has no absolute entitlement to

 appeal a district court's denial of his petition. 28 U.S.C. § 2253(c)(1). Rather, a district court

 must first issue a certificate of appealability (COA). Id. "A [COA] may issue …only if the

 applicant has made a substantial showing of the denial of a constitutional right." Id. at §

 2253(c)(2). To make such a showing, Petitioner "must demonstrate that reasonable jurists

 would find the district court's assessment of the constitutional claims debatable or wrong,"

 Tennard v. Dretke, 542 U.S. 274, 282 (2004) (quoting Slack v. McDaniel, 529 U.S. 473, 484

 (2000)), or that "the issues presented were 'adequate to deserve encouragement to proceed

 further.'" Miller-El v. Cockrell, 537 U.S. 322, 335-36 (2003) (quoting Barefoot v. Estelle, 463

 U.S. 880, 893 n. 4 (1983)). Petitioner has not made the requisite showing in these

 circumstances.

        Finally, because Petitioner is not entitled to a certificate of appealability, he is not

 entitled to appeal in forma pauperis.

        DONE and ORDERED in Tampa, Florida on March 5, 2010.




 SA:sfc
 Copy furnished to:
 Pro Se Petitioner

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